              Case
B1 (Official Form     10-48235
                  1) (4/10)                   Doc 1 Filed 10/28/10 Entered 10/28/10 14:56:28 Desc Main
                                                        Document
                                     United States Bankruptcy    Court Page 1 of 41
                                       Northern District of Illinois                      Voluntary Petition
                                            Eastern Division
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
   Xiong, Khunta, M.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more            Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN(if more than
than one, state all):      5728                                                                  one, state all):
 Street Address of Debtor (No. & Street, City, and State):                                       Street Address of Joint Debtor (No. & Street, City, and State):
   1195 Deep Woods Drive
   Elgin, IL
                                                             ZIP CODE          60120                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
   Cook
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):

                                                             ZIP CODE                                                                                         ZIP CODE
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                              ZIP CODE
                      Type of Debtor                                           Nature of Business                               Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                       (Check one box)                                                   the Petition is Filed (Check one box)
                       (Check one box.)
                                                                     Health Care Business                                 Chapter 7                        Chapter 15 Petition for
        Individual (includes Joint Debtors)                          Single Asset Real Estate as defined in 11                                             Recognition of a Foreign
                                                                                                                          Chapter 9
        See Exhibit D on page 2 of this form.                        U.S.C. § 101(51B)                                                                     Main Proceeding
        Corporation (includes LLC and LLP)                           Railroad                                            Chapter 11
                                                                                                                                                           Chapter 15 Petition for
        Partnership                                                  Stockbroker                                         Chapter 12                        Recognition of a Foreign
        Other (If debtor is not one of the above entities,           Commodity Broker                                                                      Nonmain Proceeding
                                                                     Clearing Bank                                       Chapter 13
        check this box and state type of entity below.)
        _____________________                                        Other                                                                    Nature of Debts
                                                                                                                                                (Check one box)
                                                                              Tax-Exempt Entity                          Debts are primarily consumer                  Debts are primarily
                                                                            (Check box, if applicable)                   debts, defined in 11 U.S.C.                   business debts.
                                                                                                                         § 101(8) as “incurred by an
                                                                        Debtor is a tax-exempt organization              individual primarily for a
                                                                        under Title 26 of the United States              personal, family, or house-
                                                                        Code (the Internal Revenue Code.)                hold purpose.”
                                  Filing Fee (Check one box)                                                                          Chapter 11 Debtors
                                                                                                     Check one box:
      Full Filing Fee attached
                                                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
      Filing Fee to be paid in installments (applicable to individuals only). Must attach                  Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
      signed application for the court's consideration certifying that the debtor is                 Check if:
      unable to pay fee except in installments. Rule 1006(b) See Official Form 3A.
                                                                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                           insiders or affiliates) are less than $2,343,300 (amount subject to adjustment on
      Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                         4/01/13 and every three years thereafter).
      attach signed application for the court's consideration. See Official Form 3B.                 Check all applicable boxes
                                                                                                           A plan is being filed with this petition
                                                                                                           Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                           of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                   THIS SPACE IS FOR
                                                                                                                                                                          COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative
      expenses paid, there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-           50-          100-         200-        1,000-       5,001-       10,001-     25,001-        50,001-     Over
 49           99           199          999         5,000        10,000       25,000      50,000         100,000     100,000
 Estimated Assets

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001                 $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500                      to $1 billion    billion
                                          million     million    million     million     million

                                                         
 Estimated Liabilities

 $0 to   $50,001 to       $100,001 to     $500,001 to $1,000,001 $10,000,001 $50,000,001 $100,000,001
                                                                                                                      $500,000,001     More than $1
 $50,000 $100,000         $500,000        $1          to $10     to $50      to $100     to $500
                                                                                                                      to $1 billion    billion
                                          million     million    million     million     million
              Case
B1 (Official Form     10-48235
                  1) (4/10)                           Doc 1          Filed 10/28/10 Entered 10/28/10 14:56:28                                              Desc Main
                                                                                                                                                                 FORM B1, Page 2
Voluntary Petition                                                     Document NamePage  2 of 41
                                                                                      of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                                 Khunta M. Xiong
                                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:          NONE
 Location                                                                                        Case Number:                                              Date Filed:
 Where Filed:
                            Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
 Name of Debtor:                                                                                 Case Number:                                              Date Filed:
 NONE
 District:                                                                                       Relationship:                                             Judge:


                                           Exhibit A                                                                                      Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                     (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                         whose debts are primarily consumer debts)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)              I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                 12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                 available under each such chapter. I further certify that I have delivered to the
                                                                                                 debtor the notice required by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.                                     X s/ Samuel Z. Goldfarb                                    10/28/2010
                                                                                                        Signature of Attorney for Debtor(s)                      Date
                                                                                                        Samuel Z. Goldfarb                                      0991538
                                                                                           Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
       No

                                                                                           Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                        Information Regarding the Debtor - Venue
                                                                                   (Check any applicable box)
                          Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                          preceding the date of this petition or for a longer part of such 180 days than in any other District.

                          There is a bankruptcy case concerning debtor's affiliate. general partner, or partnership pending in this District.


                          Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District. or
                          has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                          this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                     (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following).



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)
                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                          filing of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
              Case
B1 (Official Form     10-48235
                  1) (4/10)                         Doc 1           Filed 10/28/10 Entered 10/28/10 14:56:28                                            Desc Main
                                                                                                                                                              FORM B1, Page 3
Voluntary Petition                                                    Document NamePage  3 of 41
                                                                                     of Debtor(s):
  (This page must be completed and filed in every case)                                       Khunta M. Xiong

                                                                                      Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this petition is true     I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                  and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has              and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such        (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                    I request relief in accordance with chapter 15 of Title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I             Certified Copies of the documents required by § 1515 of title 11 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                    Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code, specified         Chapter of title 11 specified in the petition. A certified copy of the
 in this petition.                                                                                  order granting recognition of the foreign main proceeding is attached.

   X s/ Khunta M. Xiong                                                                       X Not Applicable
       Signature of Debtor        Khunta M. Xiong                                                 (Signature of Foreign Representative)

   X Not Applicable
       Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

       Telephone Number (If not represented by attorney)
       10/28/2010                                                                                 Date
       Date
                                   Signature of Attorney                                                           Signature of Non-Attorney Petition Preparer
  X s/ Samuel Z. Goldfarb                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
     Signature of Attorney for Debtor(s)
                                                                                              in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
                                                                                              debtor with a copy of this document and the notices and information required under 11
     Samuel Z. Goldfarb Bar No. 0991538                                                       U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or guidelines have been
     Printed Name of Attorney for Debtor(s) / Bar No.                                         promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable
                                                                                              by bankruptcy petition preparers, I have given the debtor notice of the maximum amount
      Borovsky and Ehrlich                                                                    before preparing any document for filing for a debtor or accepting any fee from the debtor,
                                                                                              as required in that section. Official Form 19 is attached.
     Firm Name
      111 East Wacker Drive Suite 1325
     Address                                                                                      Not Applicable
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
      Chicago, Illinois 60601

      (312) 861-0808                                    (312) 819-0948
                                                                                                 Social-Security number (If the bankruptcy petition preparer is not an individual, state
      Telephone Number                                                                           the Social-Security number of the officer, principal, responsible person or partner of
      10/28/2010                                                                                 the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)

      Date
      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a              Address
      certification that the attorney has no knowledge after an inquiry that the
      information in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)
                                                                                              X Not Applicable
 I declare under penalty of perjury that the information provided in this petition is true
 and correct, and that I have been authorized to file this petition on behalf of the             Date
 debtor.
                                                                                                 Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                                 partner whose Social-Security number is provided above.
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                                Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                                 in preparing this document unless the bankruptcy petition preparer is not an
 X Not Applicable                                                                                individual.
     Signature of Authorized Individual                                                          If more than one person prepared this document, attach to the appropriate official form
                                                                                                 for each person.

     Printed Name of Authorized Individual                                                       A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                                 the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                                 both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Title of Authorized Individual


      Date
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B 1D (Official Form 1, Exhibit D) (12/09)

                                  UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois
                                                   Eastern Division

         In re   Khunta M. Xiong                                                    Case No.
                           Debtor                                                                      (if known)


           EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                            CREDIT COUNSELING REQUIREMENT

         Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court can
dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your creditors
will be able to resume collection activities against you. If your case is dismissed and you file another
bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file
a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

              1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, and I have a certificate
from the agency describing the services provided to me. Attach a copy of the certificate and a copy of any debt
repayment plan developed through the agency.

               2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the opportunities
for available credit counseling and assisted me in performing a related budget analysis, but I do not have a
certificate from the agency describing the services provided to me. You must file a copy of a certificate from the
agency describing the services provided to you and a copy of any debt repayment plan developed through the
agency no later than 14 days after your bankruptcy case is filed.


              3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case now.
[Summarize exigent circumstances here.]




         If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
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B 1D (Official Form 1, Exh. D) (12/09) – Cont.

             4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                       Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
        mental deficiency so as to be incapable of realizing and making rational decisions with respect to financial
        responsibilities.);
                       Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
         unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
         through the Internet.);
                       Active military duty in a military combat zone.

             5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. ' 109(h) does not apply in this district.

         I certify under penalty of perjury that the information provided above is true and correct.

Signature of Debtor: s/ Khunta M. Xiong
                     Khunta M. Xiong

Date: 10/28/2010
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B6A (Official Form 6A) (12/07)

In re:   Khunta M. Xiong                                                                                        Case No.
                                                               ,
                                                                                                                                            (If known)
                                          Debtor



                                  SCHEDULE A - REAL PROPERTY




                                                                            HUSBAND, WIFE, JOINT
                                                                                                                CURRENT VALUE
                                                                                                                 OF DEBTOR'S




                                                                               OR COMMUNITY
                                                                                                                  INTEREST IN
               DESCRIPTION AND                                                                                PROPERTY, WITHOUT                    AMOUNT OF
                                              NATURE OF DEBTOR'S                                                DEDUCTING ANY
                 LOCATION OF                                                                                                                        SECURED
                                             INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                           CLAIM
                                                                                                                 OR EXEMPTION




 1/2 owner of Home at 1195 Deep       Co-Owner                                                                           $ 273,000.00                $ 339,853.00
 Woods Drive, Elgin, IL 60120


                                                                    Total                              $ 273,000.00
                                                                                                   (Report also on Summary of Schedules.)
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B6B (Official Form 6B) (12/07)

In re   Khunta M. Xiong                                                              ,                Case No.
                                                                Debtor                                                                   (If known)



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                          CURRENT VALUE OF




                                                                                                                   OR COMMUNITY
                                                                                                                                          DEBTOR'S INTEREST
                                                                                                                                          IN PROPERTY, WITH-


                                                    NONE
                                                                         DESCRIPTION AND LOCATION                                         OUT DEDUCTING ANY
            TYPE OF PROPERTY                                                   OF PROPERTY                                                   SECURED CLAIM
                                                                                                                                             OR EXEMPTION




  1. Cash on hand                                          Ten Dollars                                                                                  10.00
  2. Checking, savings or other financial                  Checking Account at Chase Bank                                                              327.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,
     building and loan, and homestead
     associations, or credit unions, brokerage
     houses, or cooperatives.
  3. Security deposits with public utilities,       X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                      Used Household Furniture and Furnishings                                                    300.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,         X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                      Used Clothing                                                                               200.00
  7. Furs and jewelry.                                     Jewelry                                                                                       5.00
  8. Firearms and sports, photographic, and         X
     other hobby equipment.
  9. Interests in insurance policies. Name                 Allstate Life Insurance Policy, $300,000                                                   1,484.00
     insurance company of each policy and
     itemize surrender or refund value of
     each.
 10. Annuities. Itemize and name each               X
     issuer.
 11. Interests in an education IRA as defined       X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
 12. Interests in IRA, ERISA, Keogh, or other       X
     pension or profit sharing plans. Give
     particulars.
 13. Stock and interests in incorporated and        X
     unincorporated businesses. Itemize.
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
                  Case 10-48235                     Doc 1      Filed 10/28/10 Entered 10/28/10 14:56:28                                  Desc Main
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Khunta M. Xiong                                                               ,             Case No.
                                                                  Debtor                                                                  (If known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                           (Continuation Sheet)




                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                           CURRENT VALUE OF




                                                                                                                    OR COMMUNITY
                                                                                                                                           DEBTOR'S INTEREST
                                                                                                                                           IN PROPERTY, WITH-


                                                      NONE
                                                                            DESCRIPTION AND LOCATION                                       OUT DEDUCTING ANY
               TYPE OF PROPERTY                                                   OF PROPERTY                                                 SECURED CLAIM
                                                                                                                                              OR EXEMPTION




 19. Equitable or future interests, life estates,     X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests           X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated                X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                   X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general          X
     intangibles. Give particulars.
 24. Customer lists or other compilations             X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other                1/2 owner of 1998 Chrysler Town and Country -                                              100.00
     vehicles and accessories.
                                                             130,000 miles, inoperable, needs transmission
        Automobiles, trucks, trailers, and other             2006 Honda Civic - 95,000miles, damage to driver's                                        9,000.00
        vehicles and accessories.
                                                             door and back bumper
 26. Boats, motors, and accessories.                  X
 27. Aircraft and accessories.                        X
 28. Office equipment, furnishings, and               X
     supplies.
 29. Machinery, fixtures, equipment and               X
     supplies used in business.
 30. Inventory.                                       X
 31. Animals.                                         X
 32. Crops - growing or harvested. Give               X
     particulars.
 33. Farming equipment and implements.                X
 34. Farm supplies, chemicals, and feed.              X
 35. Other personal property of any kind not          X
     already listed. Itemize.
             Case 10-48235                Doc 1        Filed 10/28/10 Entered 10/28/10 14:56:28                                    Desc Main
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B6B (Official Form 6B) (12/07) -- Cont.

In re   Khunta M. Xiong                                                          ,           Case No.
                                                        Debtor                                                                      (If known)



                                 SCHEDULE B - PERSONAL PROPERTY
                                                                 (Continuation Sheet)




                                                                                                            HUSBAND, WIFE, JOINT
                                                                                                                                     CURRENT VALUE OF




                                                                                                              OR COMMUNITY
                                                                                                                                     DEBTOR'S INTEREST
                                                                                                                                     IN PROPERTY, WITH-


                                            NONE
                                                                  DESCRIPTION AND LOCATION                                           OUT DEDUCTING ANY
          TYPE OF PROPERTY                                              OF PROPERTY                                                     SECURED CLAIM
                                                                                                                                        OR EXEMPTION




                                                   2    continuation sheets attached                Total                                        $ 11,426.00

                                                                                                        (Include amounts from any continuation sheets
                                                                                                        attached. Report total also on Summary of
                                                                                                        Schedules.)
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B6C (Official Form 6C) (4/10)


In re   Khunta M. Xiong                                                                                 Case No.
                                                                                           ,
                                                                                                                                 (If known)
                                                              Debtor



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                 Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                 $146,450.*
   11 U.S.C. § 522(b)(2)
   11 U.S.C. § 522(b)(3)


                                                                                                VALUE OF                       CURRENT
                                                           SPECIFY LAW
                                                                                                CLAIMED                   VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                               EXEMPTION                  WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                              EXEMPTION


1/2 owner of 1998 Chrysler                  735 ILCS 5/12-1001(b)                                      100.00                                   100.00
Town and Country - 130,000
miles, inoperable, needs
transmission
1/2 owner of Home at 1195                   735 ILCS 5/12-901                                      15,000.00                             273,000.00
Deep Woods Drive, Elgin, IL
60120
2006 Honda Civic -                          735 ILCS 5/12-1001(c)                                    2,400.00                                 9,000.00
95,000miles, damage to
driver's door and back bumper
Allstate Life Insurance Policy,             735 ILCS 5/12-1001(f)                                    1,484.00                                 1,484.00
$300,000
Checking Account at Chase                   735 ILCS 5/12-1001(b)                                      327.00                                   327.00
Bank
Jewelry                                     735 ILCS 5/12-1001(b)                                          5.00                                   5.00

Ten Dollars                                 735 ILCS 5/12-1001(b)                                       10.00                                    10.00

Used Clothing                               735 ILCS 5/12-1001(a),(e)                                  200.00                                   200.00

Used Household Furniture and                735 ILCS 5/12-1001(b)                                      300.00                                   300.00
Furnishings

* Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                  Case 10-48235              Doc 1        Filed 10/28/10 Entered 10/28/10 14:56:28                                                                               Desc Main
                                                           Document     Page 11 of 41
B6D (Official Form 6D) (12/07)


 In re   Khunta M. Xiong                                                                                       ,
                                                                                                                           Case No.
                                                                                                                                                                            (If known)
                                                         Debtor


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                      HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                       DATE CLAIM WAS                                                     AMOUNT OF
                                                                                                                                                                                                       UNSECURED




                                                                                                                                               UNLIQUIDATED
                                                                        OR COMMUNITY
                 MAILING ADDRESS                                                                        INCURRED, NATURE                                                   CLAIM WITHOUT




                                                                                                                                  CONTINGENT
                                                           CODEBTOR
                                                                                                                                                                                                       PORTION, IF




                                                                                                                                                              DISPUTED
             INCLUDING ZIP CODE AND                                                                        OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                         DESCRIPTION AND                                                      VALUE OF                    ANY
              (See Instructions, Above.)                                                               VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                         SUBJECT TO LIEN


 ACCOUNT NO. ****0634                                                                                                                                                                 6,316.00                      0.00
                                                                                             Security Agreement
 American Honda Finance Corporation
                                                                                             2006 Honda Civic - 95,000miles,
 P.O. Box 5308
                                                                                             damage to driver's door and
 Elgin, IL 60121-5308
                                                                                             back bumper
                                                                                             __________________________
                                                                                             VALUE $9,000.00
 ACCOUNT NO. *****6604                                     X                                                                                                                       339,853.00               66,853.00
                                                                                             First Mortgage
 Bank of America
                                                                                             1/2 owner of Home at 1195 Deep
 P.O. Box 5170
                                                                                             Woods Drive, Elgin, IL 60120
 Simi Valley, CA 93062
                                                                                             __________________________
                                                                                             VALUE $273,000.00




 0        continuation sheets
          attached
                                                                                             Subtotal
                                                                                             (Total of this page)
                                                                                                                                                                           $       346,169.00 $             66,853.00



                                                                                             Total                                                                         $       346,169.00 $             66,853.00
                                                                                             (Use only on last page)


                                                                                                                                                                         (Report also on Summary of (If applicable, report
                                                                                                                                                                         Schedules)                 also on Statistical
                                                                                                                                                                                                    Summary of Certain
                                                                                                                                                                                                    Liabilities and
                                                                                                                                                                                                    Related Data.)
                    Case 10-48235               Doc 1         Filed 10/28/10 Entered 10/28/10 14:56:28                                 Desc Main
                                                               Document     Page 12 of 41
B6E (Official Form 6E) (4/10)

In re       Khunta M. Xiong                                                              ,                              Case No.
                                                                Debtor                                                                               (If known)


                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


        Certain farmers and fishermen

        Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

        Deposits by individuals

      Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

        Taxes and Certain Other Debts Owed to Governmental Units
        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

        Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

        Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

        * Amounts are subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


                                                                    1 continuation sheets attached
                  Case 10-48235                 Doc 1                 Filed 10/28/10 Entered 10/28/10 14:56:28                                                                            Desc Main
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B6E (Official Form 6E) (4/10) – Cont.


In re     Khunta M. Xiong                                                                                                                                                  Case No.
                                                                                                                  ,                                                                                 (If known)
                                                                      Debtor


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                 (Continuation Sheet)




                                                                   HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                DATE CLAIM WAS                                                               AMOUNT            AMOUNT          AMOUNT




                                                                     OR COMMUNITY




                                                                                                                                                UNLIQUIDATED
                                                                                                                                   CONTINGENT
                                                        CODEBTOR




                                                                                                                                                               DISPUTED
              MAILING ADDRESS                                                                 INCURRED AND                                                                OF CLAIM        ENTITLED TO         NOT
            INCLUDING ZIP CODE,                                                              CONSIDERATION                                                                                 PRIORITY       ENTITLED TO
           AND ACCOUNT NUMBER                                                                   FOR CLAIM                                                                                                 PRIORITY, IF
           (See instructions above.)                                                                                                                                                                          ANY



 ACCOUNT NO.
                                                                                                                                                                                                                 $0.00




                                                                                                                                  Subtotals                       $
Sheet no. 1 of 1 continuation sheets attached to Schedule of                                                          (Totals of this page)
                                                                                                                                                                              0.00 $             0.00 $            0.00
Creditors Holding Priority Claims


                                                                                                                                 Total
                                                                                          (Use only on last page of the completed
                                                                                          Schedule E. Report also on the Summary of
                                                                                                                                                                 $            0.00
                                                                                          Schedules.)
                                                                                                                                   Total
                                                                                          (Use only on last page of the completed                                                     $          0.00 $            0.00
                                                                                          Schedule E. If applicable, report also on the
                                                                                          Statistical Summary of Certain Liabilities
                                                                                          and Related Data. )
                Case 10-48235                  Doc 1       Filed 10/28/10 Entered 10/28/10 14:56:28                                                                                     Desc Main
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B6F (Official Form 6F) (12/07)

In re    Khunta M. Xiong                                                                                                                   Case No.
                                                                                                                  ,
                                                           Debtor                                                                                                               (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                        HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                 DATE CLAIM WAS                                                                            AMOUNT OF




                                                                          OR COMMUNITY




                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                   CONTINGENT
                  MAILING ADDRESS                                                                                  INCURRED AND                                                                               CLAIM




                                                             CODEBTOR




                                                                                                                                                                                                 DISPUTED
                INCLUDING ZIP CODE,                                                                             CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                      CLAIM.
                (See instructions above.)                                                                      IF CLAIM IS SUBJECT TO
                                                                                                                  SETOFF, SO STATE

ACCOUNT NO.         ****-****-****-0951                                                                                                                                                                         1,807.00
 Applied Bank                                                                                    Visa
 c/o Nations Recovery Center, Inc.
 6491 Peachtree Industrial Blvd.
 Atlanta, GA 30360


ACCOUNT NO.         ********4390                                                                                                                                                                                  487.00
 AT&T Mobility                                                                                   Telephone Service
 c/o I.C. Systems, Inc.
 444 Highway 96 East
 P.O. Box 64437
 St. Paul, MN 55164

ACCOUNT NO.         ****-****-****-9640                                                                                                                                                                         7,590.00
 Capital One                                                                                     Visa
 c/o Freedman Anselmo Lindberg
 1807 W. Diehl
 P.O. Box 3107
 Naperville, IL 60566

ACCOUNT NO.         ***260                                                                                                                                                                                        178.00
 Carol Stream Dental Associates                                                                  Dental Services
 c/o Keynote Consulting, Inc.
 220 W. Campus Drive, Suite 102
 Arlington Heights, IL 60004


ACCOUNT NO.         ****-****-****-4348                     X                                                                                                                                                   1,777.00
 Chase Card                                                                                      Visa
 P.O. Box 15153
 Wilmington, DE 19886



                3    Continuation sheets attached

                                                                                                                                                                 Subtotal                           $          11,839.00



                                                                                                                                                                                                    $
                                                                                                                                                                          Total
                                                                                                                   (Use only on last page of the completed Schedule F.)
                                                                                               (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                      Summary of Certain Liabilities and Related Data.)
                   Case 10-48235                 Doc 1          Filed 10/28/10 Entered 10/28/10 14:56:28                                                                                    Desc Main
                                                                 Document     Page 15 of 41
B6F (Official Form 6F) (12/07) - Cont.

In re      Khunta M. Xiong                                                                                                                     Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        ***********6292                                                                                                                                                                  X              3,337.00
 Citifinancial, Inc.                                                                                 Unknown
 c/o Nationwide Credit, Inc.
 3600 E. University Drive
 Suite B1350
 Phoenix, AZ 85034

 ACCOUNT NO.        ********9880                                 X                                                                                                                                                     93.00
 Cobblers Crossing Master Assoc.                                                                     Homeowner Fees
 5999 S. New Wilke Rd.
 Rolling Meadows, IL 60008



 ACCOUNT NO.        ****-****-****-5833                                                                                                                                                                             7,607.00
 Direct Merchants Bank/Main Street Acquis                                                            MasterCard
 c/o Harvard Collection Service
 4839 N. Elston Avenue



 ACCOUNT NO.        ***-***-465                                                                                                                                                                                     1,287.00
 Great American Finance Co.                                                                          Store Account
 20 North Wacker Drive, Suite 2275
 Chicago, IL 60606



 ACCOUNT NO.        ****-****-****-3713                          X                                                                                                                                                  1,362.00
 HSBC Bank Nevada / Cavalry Portfolio                                                                MasterCard
 c/o Shindler Law Firm
 1990 E. Algonquin Rd., Suite 180
 Schaumburg, IL 60173




Sheet no. 1 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          13,686.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                   Case 10-48235                 Doc 1          Filed 10/28/10 Entered 10/28/10 14:56:28                                                                                    Desc Main
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B6F (Official Form 6F) (12/07) - Cont.

In re      Khunta M. Xiong                                                                                                                     Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        ****-****-****-7342                                                                                                                                                                               577.00
 HSBC Bank Nevada / Orchard Bank                                                                     MasterCard
 c/o Portfolio Recovery Associates, LLC
 P.O. Box 12914
 Norfolk, VA 23541


 ACCOUNT NO.        ***-**-5728                                                                                                                                                                                     1,100.00
 Illinois Dept. of Employment Security                                                               Overpayment
 c/o Michael J. Prousis
 Assistant Attorney General
 338 South State Street, Suite 992
 Chicago, Illinois 60603

 ACCOUNT NO.        ****-****-****-6700                                                                                                                                                                             1,579.00
 Juniper / Barclay's Bank                                                                            MasterCard
 c/o NCO Financial Systems
 507 Prudential Road
 Horsham, PA 19044


 ACCOUNT NO.        ****3393                                                                                                                                                                                          236.00
 Lutheran General Hospital                                                                           Medical Services
 c/o ICS Collection Service
 P.O. Box 1010
 Tinley Park, IL 60477


 ACCOUNT NO.        *******5139                                                                                                                                                                                     1,489.00
 Marshall Field's / Macy's                                                                           Store Account
 c/o NCO Financial Systems
 P.O. Box 15889
 Wilmington, DE 19850-5889




Sheet no. 2 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $           4,981.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                   Case 10-48235                 Doc 1          Filed 10/28/10 Entered 10/28/10 14:56:28                                                                                    Desc Main
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B6F (Official Form 6F) (12/07) - Cont.

In re      Khunta M. Xiong                                                                                                                     Case No.
                                                                                                                      ,
                                                                Debtor                                                                                                              (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                            AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                       CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                               CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                     DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        *****4376                                                                                                                                                                                       2,164.00
 T-Mobile                                                                                            Telephone Service
 c/o Sunrise Credit Services, Inc.
 P.O. Box 9100
 Farmingdale, NY 11735-9100


 ACCOUNT NO.        ***-**-5728                                                                                                                                                                                     7,445.00
 U.S. Department of Education                                                                        Student Loan
 P.O. Box 530260
 Atlanta, GA 30353



 ACCOUNT NO.        ******9775                                   X                                                                                                                                                  5,386.00
 Wachovia Dealer Services                                                                            2005 Lexus E530, repossessed 11/09
 P.O. Box 3659
 Rancho Cucamonga, CA 91729



 ACCOUNT NO.        ****-****-****-9429                                                                                                                                                                             2,728.00
 Zales / Citibank                                                                                    Store Account
 c/o Oxford Management Service
 P.O. Box 150479
 Hartford, CT 06115




Sheet no. 3 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                           $          17,723.00
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                        $           48,229.00
                                                                                                                                                                              Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
           Case 10-48235              Doc 1      Filed 10/28/10 Entered 10/28/10 14:56:28              Desc Main
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Samuel Z. Goldfarb 0991538
Borovsky and Ehrlich
111 East Wacker Drive
Suite 1325
Chicago, Illinois 60601

 (312) 861-0808
Attorney for the Petitioner(s)


                             UNITED STATES BANKRUPTCY COURT
                                                    Northern District of Illinois
                                                         Eastern Division


In Re:
Debtor: Khunta M. Xiong                                                         Case No:
Social Security Number: 5728
                                                                                Chapter 7

                                                                                Numbered Listing of Creditors




                Creditor name and mailing address                       Category of Claim               Amount of Claim

 1.     American Honda Finance Corporation                              Secured Claims                           $ 6,316.00
        P.O. Box 5308
        Elgin, IL 60121-5308



 2.     Applied Bank                                                  Unsecured Claims                           $ 1,807.00
        c/o Nations Recovery Center, Inc.
        6491 Peachtree Industrial Blvd.
        Atlanta, GA 30360


 3.     AT&T Mobility                                                 Unsecured Claims                            $   487.00
        c/o I.C. Systems, Inc.
        444 Highway 96 East
        P.O. Box 64437
        St. Paul, MN 55164

 4.     Bank of America                                                 Secured Claims                          $ 339,853.00
        P.O. Box 5170
        Simi Valley, CA 93062



 5.     Capital One                                                   Unsecured Claims                           $ 7,590.00
        c/o Freedman Anselmo Lindberg
        1807 W. Diehl
        P.O. Box 3107
        Naperville, IL 60566




        Numbered Listing of Creditors - Page 1
            Case 10-48235              Doc 1      Filed 10/28/10 Entered 10/28/10 14:56:28    Desc Main
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In re:   Khunta M. Xiong                                                              Case No. _____________________




  6.     Carol Stream Dental Associates                            Unsecured Claims                    $    178.00
         c/o Keynote Consulting, Inc.
         220 W. Campus Drive, Suite 102
         Arlington Heights, IL 60004


  7.     Chase Card                                                Unsecured Claims                   $ 1,777.00
         P.O. Box 15153
         Wilmington, DE 19886



  8.     Citifinancial, Inc.                                       Unsecured Claims                   $ 3,337.00
         c/o Nationwide Credit, Inc.
         3600 E. University Drive
         Suite B1350
         Phoenix, AZ 85034

  9.     Cobblers Crossing Master Assoc.                           Unsecured Claims                     $    93.00
         5999 S. New Wilke Rd.
         Rolling Meadows, IL 60008



  10 .   Direct Merchants Bank/Main Street Acquis                  Unsecured Claims                   $ 7,607.00
         c/o Harvard Collection Service
         4839 N. Elston Avenue



  11 .   Great American Finance Co.                                Unsecured Claims                   $ 1,287.00
         20 North Wacker Drive, Suite 2275
         Chicago, IL 60606



  12 .   HSBC Bank Nevada / Cavalry Portfolio                      Unsecured Claims                   $ 1,362.00
         c/o Shindler Law Firm
         1990 E. Algonquin Rd., Suite 180
         Schaumburg, IL 60173


  13 .   HSBC Bank Nevada / Orchard Bank                           Unsecured Claims                    $    577.00
         c/o Portfolio Recovery Associates, LLC
         P.O. Box 12914
         Norfolk, VA 23541


  14 .   Illinois Dept. of Employment Security                     Unsecured Claims                   $ 1,100.00
         c/o Michael J. Prousis
         Assistant Attorney General
         338 South State Street, Suite 992
         Chicago, Illinois 60603




         Numbered Listing of Creditors - Page 2
            Case 10-48235              Doc 1      Filed 10/28/10 Entered 10/28/10 14:56:28    Desc Main
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In re:   Khunta M. Xiong                                                              Case No. _____________________




  15 .   Juniper / Barclay's Bank                                  Unsecured Claims                   $ 1,579.00
         c/o NCO Financial Systems
         507 Prudential Road
         Horsham, PA 19044


  16 .   Lutheran General Hospital                                 Unsecured Claims                    $   236.00
         c/o ICS Collection Service
         P.O. Box 1010
         Tinley Park, IL 60477


  17 .   Marshall Field's / Macy's                                 Unsecured Claims                   $ 1,489.00
         c/o NCO Financial Systems
         P.O. Box 15889
         Wilmington, DE 19850-5889


  18 .   T-Mobile                                                  Unsecured Claims                   $ 2,164.00
         c/o Sunrise Credit Services, Inc.
         P.O. Box 9100
         Farmingdale, NY 11735-9100


  19 .   U.S. Department of Education                              Unsecured Claims                   $ 7,445.00
         P.O. Box 530260
         Atlanta, GA 30353



  20 .   Wachovia Dealer Services                                  Unsecured Claims                   $ 5,386.00
         P.O. Box 3659
         Rancho Cucamonga, CA 91729



  21 .   Zales / Citibank                                          Unsecured Claims                   $ 2,728.00
         c/o Oxford Management Service
         P.O. Box 150479
         Hartford, CT 06115




         Numbered Listing of Creditors - Page 3
            Case 10-48235              Doc 1      Filed 10/28/10 Entered 10/28/10 14:56:28                  Desc Main
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In re:   Khunta M. Xiong                                                                           Case No. _____________________




(The penalty for making a false statement or concealing property is a fine up to $500,000 or
imprisonment for up to 5 years or both. 18 U.S.C. secs. 152 and 3571.)




                                                      DECLARATION
 I, Khunta M. Xiong , named as debtor in this case, declare under penalty of perjury that I have
have read the foregoing Numbered Listing of Creditors, consisting of 3 sheets (not including this declaration), and that it is true to
the best of my information and belief.




         Signature:    s/ Khunta M. Xiong
                       Khunta M. Xiong
            Dated:     10/28/2010




         Numbered Listing of Creditors - Page 4
              Case 10-48235               Doc 1       Filed 10/28/10 Entered 10/28/10 14:56:28                          Desc Main
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B6G (Official Form 6G) (12/07)


In re:   Khunta M. Xiong                                                            ,        Case No.
                                                         Debtor                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.
             Case 10-48235             Doc 1          Filed 10/28/10 Entered 10/28/10 14:56:28          Desc Main
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B6H (Official Form 6H) (12/07)


In re: Khunta M. Xiong                                                           Case No.
                                                                       ,                             (If known)
                                                        Debtor


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR


   Varinta Khounphannavong                                            Bank of America
   1195 Deep Woods Drive                                              P.O. Box 5170
   Elgin, IL 60120                                                    Simi Valley, CA 93062

   Chanthamina Khounphannavong                                        Chase Card
   1195 Deep Woods Drive                                              P.O. Box 15153
   Elgin, IL 60120                                                    Wilmington, DE 19886
   Varinta Khounphannavong                                            Cobblers Crossing Master Assoc.
   1195 Deep Woods Drive                                              5999 S. New Wilke Rd.
   Elgin, IL 60120                                                    Rolling Meadows, IL 60008

   Chanthamina Khounphannavong                                        HSBC Bank Nevada / Cavalry Portfolio
   1195 Deep Woods Drive                                              c/o Shindler Law Firm
   Elgin, IL 60120                                                    1990 E. Algonquin Rd., Suite 180
                                                                      Schaumburg, IL 60173
   Varinta Khounphannavong                                            Wachovia Dealer Services
   1195 Deep Woods Drive                                              P.O. Box 3659
   Elgin, IL 60120                                                    Rancho Cucamonga, CA 91729
                 Case 10-48235                  Doc 1   Filed 10/28/10 Entered 10/28/10 14:56:28                                 Desc Main
B6I (Official Form 6I) (12/07)                           Document     Page 24 of 41
 In re     Khunta M. Xiong                                                           ,                  Case No.
                                                                  Debtor                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Divorced
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Daughter                                                                                                  16
                                          Son                                                                                                       15
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     Restaurant Server
 Name of Employer               Hyatt Regency O'Hare
 How long employed              3 years
 Address of Employer            9300 W. Bryn Mawr
                                Rosemont, IL 60018
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 2,731.00 $
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $
 3. SUBTOTAL                                                                                        $                2,731.00      $
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                   550.00 $
                                                                                                    $                    30.00 $
         b. Insurance
         c. Union dues                                                                              $                    40.00 $
         d. Other (Specify)                                                                         $                      0.00 $

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                   620.00 $
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 2,111.00 $
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $
 8. Income from real property                                                                       $                      0.00 $
 9. Interest and dividends                                                                          $                      0.00 $
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $
 11. Social security or other government assistance
 (Specify) Unemployment Compensation                                                                $                   349.00 $
 12. Pension or retirement income                                                                   $                      0.00 $
 13. Other monthly income
 (Specify) Contribution from Co-Owner                                                              $                   310.00     $

 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $                  659.00     $

 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $                 2,770.00 $
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                    $ 2,770.00
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
  NONE
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B6J (Official Form 6J) (12/07)

  In re Khunta M. Xiong                                                              ,                          Case No.
                                                           Debtor                                                                  (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                      0.00
      a. Are real estate taxes included?           Yes                    No
       b. Is property insurance included?          Yes                    No
 2. Utilities: a. Electricity and heating fuel                                                                                $                   450.00
               b. Water and sewer                                                                                             $                   120.00
               c. Telephone                                                                                                   $                   250.00
               d. Other Cable TV                                                                                             $                     80.00
                       Garbage                                                                                               $                     50.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     0.00
 4. Food                                                                                                                      $                   550.00
 5. Clothing                                                                                                                  $                   200.00
 6. Laundry and dry cleaning                                                                                                  $                   100.00
 7. Medical and dental expenses                                                                                               $                    50.00
 8. Transportation (not including car payments)                                                                               $                   300.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                     0.00
10. Charitable contributions                                                                                                  $                     0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                     0.00
                 b. Life                                                                                                      $                    35.00
                 c. Health                                                                                                    $                     0.00
                 d. Auto                                                                                                      $                   100.00
                 e. Other                                                                                                     $                      0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                      0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                   386.00
                 b. Other                                                                                                     $                      0.00
 14. Alimony, maintenance, and support paid to others                                                                         $                      0.00
 15. Payments for support of additional dependents not living at your home                                                    $                      0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                      0.00
 17. Other                                                                                                                    $                      0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 2,671.00

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 2,770.00
           b. Average monthly expenses from Line 18 above                                                                     $                 2,671.00
           c. Monthly net income (a. minus b.)                                                                                $                    99.00
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Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                        Northern District of Illinois
                                                                     Eastern Division

In re   Khunta M. Xiong                                                            ,
                                                                                                     Case No.
                                                            Debtor                                   Chapter      7


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $     0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $     0.00
 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $     0.00
 Student Loan Obligations (from Schedule F)                                 $     0.00
 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $     0.00
 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $     0.00
                                                            TOTAL            $    0.00
State the following:

 Average Income (from Schedule I, Line 16)                                  $     2,770.00
 Average Expenses (from Schedule J, Line 18)                                $     2,671.00
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $     3,086.00
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                                                       United States Bankruptcy Court
                                                         Northern District of Illinois
                                                                         Eastern Division

In re   Khunta M. Xiong                                                             ,
                                                                                                Case No.
                                                                Debtor                          Chapter    7


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                            $     316.00
 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                       $   0.00
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                             $     0.00
 4. Total from Schedule F                                                                   $     48,229.00
 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                               $     48,545.00
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                                Northern District of Illinois
                                                                      Eastern Division


In re Khunta M. Xiong                                                                  ,                    Case No.
                                                               Debtor
                                                                                                            Chapter       7

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                       1        $           273,000.00

 B - Personal Property                        YES                       3        $            11,426.00

 C - Property Claimed
     as Exempt                                YES                       1

 D - Creditors Holding                        YES                       1                                     $               346,169.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                       2                                     $                      0.00
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                       4                                     $                48,229.00
     Nonpriority Claims

 G - Executory Contracts and                  YES                       1
     Unexpired Leases

 H - Codebtors                                YES                       1

 I - Current Income of                                                                                                                         $            2,770.00
     Individual Debtor(s)                     YES                       1

 J - Current Expenditures of                  YES                       1
     Individual Debtor(s)                                                                                                                      $            2,671.00

                                                                      16         $          284,426.00        $           394,398.00
                                    TOTAL
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Khunta M. Xiong                                                                ,                                Case No.
                                                           Debtor                                                                        (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        18
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 10/28/2010                                                               Signature: s/ Khunta M. Xiong
                                                                                           Khunta M. Xiong
                                                                                                                        Debtor
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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B7 (Official Form 7) (4/10)


                                                  UNITED STATES BANKRUPTCY COURT
                                                       Northern District of Illinois
                                                            Eastern Division
In re:   Khunta M. Xiong                                                                      Case No.
                                                                          ,
                                                      Debtor                                                     (If known)




                                          STATEMENT OF FINANCIAL AFFAIRS

          1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
          AMOUNT                            SOURCE                                        FISCAL YEAR PERIOD

          43,121.00                        Employment                                     2008

          26,138.00                        Unemployment Compensation                      2009

          24,506.00                        Employment                                     2009

          7,137.00                         Unemployment Compensation                      2010 YTD

          18,696.00                        Employment                                     2010 YTD


          2. Income other than from employment or operation of business
None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
          business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
          filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
          each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                             SOURCE                                                               FISCAL YEAR PERIOD

          3. Payments to creditors

          Complete a. or b., as appropriate, and c.
None      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
          services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
          the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
          under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
          unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
          CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
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None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                    DATES OF                               AMOUNT                 AMOUNT
                                                        PAYMENTS/                              PAID OR                STILL
                                                        TRANSFERS                              VALUE OF               OWING
                                                                                               TRANSFERS




    *Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the
date of adjustment.


None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
        benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
        by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        NAME AND ADDRESS OF CREDITOR                    DATE OF                                 AMOUNT                AMOUNT
        AND RELATIONSHIP TO DEBTOR                      PAYMENT                                 PAID                  STILL OWING




        4. Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
        the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)
        CAPTION OF SUIT                                                       COURT OR AGENCY                       STATUS OR
        AND CASE NUMBER                     NATURE OF PROCEEDING              AND LOCATIO                           DISPOSITION
        Capital One v. Khunta Xiong         Contract Action                   Circuit Court of Cook County,         Pending
           10 M1 147586                                                       Illinois
        BAC Home Loans Servicing, LP,       Foreclosure                       Circuit Court of Cook County,         Judgment
        FKA Countrywide Home Loans                                            Illinois                              Entered
        Servicing LP
           09 CH 48076
        Cavalry Portfolio v. Khunta Xion    Contract Action                   Circuit Court of Cook County,         Pending
           10 M1 191294                                                       Illinois


None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
        NAME AND ADDRESS                                                                 DESCRIPTION
        OF PERSON FOR WHOSE                                   DATE OF                    AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                           SEIZURE                    PROPERTY
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       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY



       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS
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       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY


       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       Chase Bank                               Debtor                             Personal Papers Only
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       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                        DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                     SETOFF                     SETOFF

       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW
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None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW


None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS



                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 10/28/2010                                         Signature     s/ Khunta M. Xiong
                                                           of Debtor     Khunta M. Xiong
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B 8 (Official Form 8) (12/08)

                                   UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois
                                                Eastern Division
In re                             Khunta M. Xiong                          ,            Case No.
                                        Debtor                                                          Chapter 7



        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A – Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured
by property of the estate. Attach additional pages if necessary.)


   Property No. 1

   Creditor's Name:                                               Describe Property Securing Debt:
   American Honda Finance Corporation                             2006 Honda Civic - 95,000miles, damage to
                                                                  driver's door and back bumper

   Property will be (check one):
           Surrendered                            Retained


   If retaining the property, I intend to (check at least one):
             Redeem the property
              Reaffirm the debt
              Other. Explain ___________________________ (for example, avoid lien using 11 U.S.C. § 522(f))


   Property is (check one):
           Claimed as exempt                                        Not claimed as exempt



PART B – Personal property subject to unexpired leases. (All three columns of Part B must be completed for
each unexpired lease. Attach additional pages if necessary.)


   Property No. 1

   Lessor's Name:                                Describe Leased Property:               Lease will be Assumed pursuant
                                                                                         to 11 U.S.C. § 365(p)(2):
   None
                                                                                             YES            NO



   0       continuation sheets attached (if any)

I declare under penalty of perjury that the above indicates my intention as to any property of my estate
securing a debt and/or personal property subject to an unexpired lease.



Date: 10/28/2010                                                  s/ Khunta M. Xiong
                                                                  Khunta M. Xiong
                                                                  Signature of Debtor
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B 203
(12/94)

                                                        UNITED STATES BANKRUPTCY COURT
                                                                  Northern District of Illinois
                                                                      Eastern Division
In re:           Khunta M. Xiong                                                                                      Case No.
                                                                                                                      Chapter         7
                                                   Debtor

                                DISCLOSURE OF COMPENSATION OF ATTORNEY
                                               FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s)
   and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be
   paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
   connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept                                                                            $               0.00
          Prior to the filing of this statement I have received                                                                  $               0.00
          Balance Due                                                                                                            $               0.00
2. The source of compensation paid to me was:

                 Debtor                                            Other (specify)         as provided for by the Chicago Area Pre-Paid Legal Plan
                                                                                            Fund
3. The source of compensation to be paid to me is:
                 Debtor                                           Other (specify)

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
             of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of
             my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is
             attached.
5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     including:

     a)      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

     b)      Preparation and filing of any petition, schedules, statement of affairs, and plan which may be required;

     c)      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

     d)      Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e)      [Other provisions as needed]
             None
6. By agreement with the debtor(s) the above disclosed fee does not include the following services:
             None


                                                                          CERTIFICATION
    I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
  representation of the debtor(s) in this bankruptcy proceeding.

  Dated: 10/28/2010

                                                                          s/ Samuel Z. Goldfarb
                                                                          Samuel Z. Goldfarb, Bar No. 0991538

                                                                           Borovsky and Ehrlich
                                                                           Attorney for Debtor(s)
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B 201A (Form 201A) (12/09)

    WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
       Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2.

                                   UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION

                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot
give you legal advice.

          Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
    Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

           Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
           Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.
           The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
           Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
not discharged.
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   Form B 201A, Notice to Consumer Debtor(s)                                                                            Page 2

       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
            Chapter 13 is designed for individuals with regular income who would like to pay all or part of
   their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
   amounts set forth in the Bankruptcy Code.
             Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
   them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
   depending upon your income and other factors. The court must approve your plan before it can take effect.
             After completing the payments under your plan, your debts are generally discharged except for domestic support
   obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
   properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
   secured obligations.
        Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
             Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
    are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
    future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
    income arises primarily from a family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
    perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
    information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
    acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
    employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
    creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
    this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

    Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
    require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13
    plan; Rule 8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.
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B 201B (Form 201B) (12/09)


                                        UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF ILLINOIS
                                                           EASTERN DIVISION


In re Khunta M. Xiong                                                                        Case No.
                                    Debtor
                                                                                             Chapter         7


                         CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                             UNDER § 342(b) OF THE BANKRUPTCY CODE



                                                         Certificate of the Debtor
    I , the debtor, affirm that I have received and read this notice, as required by § 342(b) of the Bankruptcy Code.
Khunta M. Xiong                                                      X s/ Khunta M. Xiong                               10/28/2010
Printed Name of Debtor                                                 Khunta M. Xiong
                                                                       Signature of Debtor                                 Date
Case No. (if known)




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.
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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION

     In re   Khunta M. Xiong                                               Case No.

             Debtor.                                                       Chapter    7


                                  STATEMENT OF MONTHLY NET INCOME


The undersigned certifies the following is the debtor's monthly income .

Income:                             Debtor
Six months ago                    $ 1,657.00
Five months ago                   $ 927.00
Four months ago                   $ 2,269.00
Three months ago                  $ 1,612.00
Two months ago                    $ 1,876.00
Last month                        $ 4,108.00
Income from other sources         $ 2,130.75
Total net income for six          $ 14,579.75
months preceding filing

Average Monthly Net               $ 2,429.96
Income

        Attached are all payment advices received by the undersigned debtor prior to the petition date, I declare
under penalty of perjury that I have read the foregoing statement and that it is true and correct to the best of my
knowledge, information, and belief.

Dated: 10/28/2010

                                                            s/ Khunta M. Xiong
                                                            Khunta M. Xiong
                                                                                 Debtor
